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8                                 UNITED STATES BANKRUPTCY COURT
9                                 NORTHERN DISTRICT OF CALIFORNIA
10                                           SAN JOSE DIVISION
11

12   In Re:                                                  Case No.: 18-50604-MEH
13                                                           CHAPTER 13
     RICHARD RIVERA AND JULIE GONZALES-
14                                                           DECLARATION OF DEBTOR IN SUPPORT
     RIVERA
                                                             OF MOTION TO VALUE COLLATERAL
15
                                                             Hearing Date: August 16, 2018
16                                                           Hearing Time: 9:30 a.m.
                                Debtor(s).                   Location: 280 S. First St., Courtroom 3020
17                                                           San Jose, CA 95113
18                                                           Judge: Hon. M. Elaine Hammond
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21   We, Richard Rivera and Julie Gonzales-Rivera, declare:
22      1. We are the Debtors in this Chapter 13 bankruptcy.
23      2. On March 20, 2018, the date we filed this case, a home which we own at 140 College Rd.,
24            Watsonville, CA 95076 was worth $415,000.00. We base our opinion on a recent appraisal
25            we had commissioned which valued of the property at $415,000.00 (See Exhibit C), dated
26            April 3, 2018.
27      3. Chase Bank holds a first mortgage on our home in the amount of $427,233.00 (see Exhibit
28            A). We believe this loan balance is correct.

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                  DECLARATION OF DEBTOR IN SUPPORT OF MOTION TO VALUE COLLATERAL
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1       4. Aspen G, LLC also holds a second mortgage on our property. The amount owed to Aspen G,

2           LLC on this mortgage is approximately $279,326.35 (see Exhibit B). The loan serviced by
3           Aspen G, LLC described above is a lien on our property senior to the second deed of trust to

4           Chase Mortgage.

5       5. We have first had personal knowledge of all the facts stated in this declaration.

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7           Executed under penalty of perjury this 16th day of July, 2018 at Watsonville, California.

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9    Dated: July 16, 2018

10                                                              _/s/ Richard Rivera____________
                                                                Richard Rivera, Debtor
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13                                                               _/s/ Julie Gonzales-Rivera________
                                                                 Julie Gonzales-Rivera, Joint Debtor
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                DECLARATION OF DEBTOR IN SUPPORT OF MOTION TO VALUE COLLATERAL
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